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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

JUAN A. GARCIA ZUAZUA,                          §
     Plaintiff,                                 §
                                                §
                                                §
VS.                                             §   CIVIL ACTION NO. 5:21-CV-544
                                                §
                                                §
C R ENGLAND, INC.,                              §
AND                                             §
JEAN HILAIRE NGUETCHUESSI                       §
       Defendants.                              §

                         PLAINTIFF’S ORIGINAL COMPLAINT

       TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES JUAN A. GARCIA ZUAZUA, Plaintiff herein, complaining of C R

ENGLAND, INC. and JEAN HILAIRE NGUETCHUESSI, Defendants herein, and would

show the Court as follows:

                                           PARTIES

       1.      Plaintiff JUAN A. GARCIA ZUAZUA is a resident of the Western District of

Texas and resides at 2219 Malibu Blvd., Eagle Pass, Maverick County, Texas 78852.

       2.      Defendant, C R ENGLAND, INC., is a corporation that is incorporated under the

laws of the State of Utah. Defendant C R ENGLAND, INC. has its principal place of business in

the State of Utah. Pursuant to 49 CFR 399, et seq. Defendant C R ENGLAND, INC as an

interstate motor carrier has designated CT Corporation System, 1999 Bryan Street #900, Dallas,

Texas 75201, as agent for service of process.

       Defendant C R ENGLAND, INC, at all times material to this action, has engaged in

business in Texas, as more particularly described below. Defendant does not maintain a place of
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regular business in Texas, however, the cause of action asserted arose from or is connected with

purposeful acted committed by the Defendant in Texas in that Defendant operates a cross-country

commercial trucking company. Its fleet of trucks crisscross Texas roadways on a daily basis and

pickup and deliver all manner of merchandise from Texas merchants, shippers, and distributors.

As such, they have established a general presence in this state and this Defendant has engaged in

continuous and systematic activities in Texas. This Defendant has purposely, by action or conduct,

directed activities toward the forum state (Texas) and has and is doing business in this State. This

Defendant, due to contracts with and sales to Texas residents, contacts with Texas, and marketing

and sales in this State, anticipated or should have anticipated the use of Texas courts as a result of

such contacts. Litigating in Texas is not unreasonably inconvenient for this Defendant.

       3.         Defendant, JEAN HILAIRE NGUETCHUESSI is an individual and citizen

of the State of Arizona.       This Defendant may be served with process in accordance with

§17.062(a), of the Texas Civil Practice and Remedies Code by serving a copy of the summons and

complaint by certified mail, return receipt requested, to the Chairman of the Texas Transportation

Commission, Mr. J. Bruce Bugg, Jr., at the Texas Department of Transportation, 125 E. 11th Street,

Austin, Texas 78701, who will in turn forward a copy of the summons and complaint by certified

or   registered     mail,   return   receipt   requested,   to   Defendant     JEAN      HILAIRE

NGUETCHUESSI’s place of abode at 100 W. Nopal PL Chandler, Arizona 85225.

                                          JURISDICTION

       4.         The Court has jurisdiction over this lawsuit under 28 U.S.C. § 1332(a)(1) because

Plaintiff and Defendants are citizens of different U.S. states, and the amount in controversy

exceeds Seventy-Five Thousand Dollars ($75,000.00), excluding interest and costs. Specifically,

Plaintiff is a citizen of the State of Texas. Defendant C R ENGLAND, INC. is a corporation
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incorporated under the laws of State of Utah with its principal place of business in the State of

Utah. Defendant JEAN HILAIRE NGUETCHUESSI is a citizen of the State of Arizona.

                                             VENUE

       5.      Venue is proper in this district because it is the district in which a substantial part

of the events or omissions giving rise to the claims occurred. See 28 U.S.C. § 1391(b). This claim

arises out of a motor vehicle collision occurring on February 16, 2020 in Eagle Pass, Maverick

County, Texas.

                                              FACTS

       6.        Plaintiff, JUAN A. GARCIA ZUAZUA, would show the Court that on or

about February 16, 2020, in Eagle Pass, Maverick County, Texas, he was driving a 2008 Chevrolet

Suburban and was stationary facing south on the left turn/straight lane of Del Rio Boulevard.

Defendant JEAN HILAIRE NGUETCHUESSI was driving a 2020 Freightliner Tractor Trailer

combination and was facing south on the left turning lane on Del Rio Boulevard. On said date,

Defendant JEAN HILAIRE NGUETCHUESSI proceeded to make a wide left turn from the

wrong lane onto North Veterans Boulevard and in the process invaded the Plaintiff’s lane of travel

as the Plaintiff was also turning left from the correct lane. As a result of the Defendant’s

negligence, he caused a violent collision with the Plaintiff’s vehicle. Plaintiff JUAN A. GARCIA

ZUAZUA suffered injuries to his head, neck, and back.

       NEGLIGENCE OF DEFENDANT JEAN HILAIRE NGUETCHUESSI

       7.      The occurrence made the basis of this lawsuit and the Plaintiff’s resulting

injuries and damages were proximately caused by the negligence, and negligence per se, of

Defendant, JEAN HILAIRE NGUETCHUESSI, in one or more of the following respects:

       a.      In failing to keep a proper lookout for other traffic as a reasonable and prudent
               person would have done under the same or similar circumstances;
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       b.      In failing to safely operate the vehicle he was driving as a reasonable and prudent
               person would have done under the same or similar circumstances;

       c.      In failing to maintain proper control of his vehicle as a reasonable and prudent
               person would have done under the same or similar circumstances;

       d.      In failing to timely apply the brakes to the vehicle he was operating in order to
               avoid the collision in question;

       e.      In failing to take proper evasive action in order to avoid said collision;

       f.      In making a left turn from the wrong lane;

       g.      In driving the 2020 Freightliner Tractor Trailer in violation of an official traffic
               control device in violation of Texas Transportation Code §544.004; and

       h..     In failing to maintain his vehicle in a single lane of travel in violation of Texas
               Transportation Code §§ 545.060 and 545.101(b)(2).

       8.      Plaintiff would show that each of the foregoing acts and/or omissions was a

separate and distinct act of negligence, and each was a direct and proximate cause of the injuries

and damages suffered by the Plaintiff as described herein below.

                                NEGLIGENT ENTRUSTMENT

       9.      Plaintiff would show that on the occasion in question, Defendant, C R

ENGLAND, INC, owned the 2020 Freightliner Tractor Trailer driven by Defendant, JEAN

HILAIRE NGUETCHUESSI, which tractor trailer was involved in the collision made the basis of

this lawsuit. Defendant, C R ENGLAND, INC., was negligent in entrusting said vehicle to

Defendant, JEAN HILAIRE NGUETCHUESSI, who was an unskilled, incompetent, and reckless

driver. He was negligent in that he knew or through the exercise of ordinary care, should have

known, that JEAN HILAIRE NGUETCHUESSI was not qualified to operate a commercial vehicle

in the United States. Defendant, C R ENGLAND, INC. should have known that JEAN HILAIRE

NGUETCHUESSI was only licensed to operate a motor vehicle in Mexico and that he did not
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meet the standards to operate the tractor trailer in the United States. Such negligent acts on the

part of Defendant C R ENGLAND, INC. were done with conscious indifference to the rights and

safety of others and were a direct and proximate cause of the collision in question and producing

cause of the damages suffered by the Plaintiff.

                                  RESPONDEAT SUPERIOR

       10.     Plaintiff alleges that at the time of the collision described above, Defendant JEAN

HILAIRE NGUETCHUESSI was the agent, servant, and/or employee of Defendant C R

ENGLAND, INC., and was acting within the course and scope of his employment as agent, servant

and/or employee of Defendant C R ENGLAND, INC.                        Defendant JEAN HILAIRE

NGUETCHUESSI was operating the 2020 Freightliner Tractor Trailer on the public streets and

highways of the State of Texas in furtherance of Defendant C R ENGLAND, INC’s business.

Defendant JEAN HILAIRE NGUETCHUESSI was operating the 2020 Freightliner Tractor Trailer

with the knowledge, and consent of Defendant C R ENGLAND, INC. Therefore, Defendant CR

ENGLAND, INC is liable under the doctrine of Respondeat Superior.

                                            DAMAGES

       11.     Plaintiff JUAN A. GARCIA ZUAZUA, would show that as a direct and proximate

cause of the aforesaid negligence of the above named Defendants, he sustained injuries to his head,

neck, low back, upper back, trauma to his body as a whole, and he has suffered physical pain and

mental anguish in the past and in all reasonable probability will continue to so suffer in the future;

he has suffered physical impairment in the past and in all reasonable probability will continue to

so suffer in the future; he has suffered disfigurement, he has suffered impairment to his earning

capacity in the past and in all reasonable probability will continue to suffer a loss of wage earning

capacity in the future. Plaintiff JUAN A. GARCIA ZUAZUA has incurred reasonable and
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necessary medical expenses for the proper treatment of his injuries in the past and in all reasonable

probability will continue to incur medical expenses in the future.

                                         JURY DEMAND

       11.     The Plaintiff demands a jury trial on all issues which may be tried to a jury.

                                             PRAYER

       12.     Premises considered, the Plaintiff asks that the Defendants be cited to appear and

answer and that, upon final trial, the court enter judgment against the Defendants for Plaintiff’s

actual damages in the amount of One Million Dollars ($1,000,000.00), pre-judgement and post-

judgement interest, for costs of court and for such other and further relief, both general and special,

at law and in equity, to which the Plaintiffs may be justly entitled.



                                                       Respectfully submitted,

                                                       KNICKERBOCKER, HEREDIA,
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                                                       By: /s/ Marco A. Salinas
                                                              Marco A. Salinas
                                                              State Bar No. 00794583

                                                       ATTORNEYS FOR PLAINTIFF
